                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PENNSYLVANIA STATE                         :
UNIVERSITY,                                    :           No. 1:19-cv-02039
          Plaintiff                            :
                                               :           (Judge Kane)
              v.                               :
                                               :
KEYSTONE ALTERNATIVES LLC                      :
d/b/a GOPSURV.COM and                          :
MARK LAUER,                                    :
           Defendants                          :

                                           ORDER

       AND NOW, on this 6th day of March 2023, upon consideration of Plaintiff’s Motion to

Exclude the Opinions of Jeffrey J. Neuman Under Rule 702 and Daubert (Doc. No. 140) and the

briefing and exhibits submitted in connection with the motion, and in accordance with the

Memorandum issued concurrently with this Order, IT IS ORDERED THAT Plaintiff’s Motion

to Exclude the Opinions of Jeffrey J. Neuman (Doc. No. 140) is GRANTED.


                                                           s/ Yvette Kane
                                                           Yvette Kane, District Judge
                                                           United States District Court
                                                           Middle District of Pennsylvania
